
In re Thibaut, James H.; Watson, Margaret Thibaut; Rives, Mary Elizabeth Thi-baut; Thibaut, Constance Elizabeth; Thi-baut, Sally Clarice Trust; Thibaut, Alma Louise Trust; Thibaut, David D. Jr. Trust; Thibaut Oil Co.; — Plaintiff(s); applying for writ of certiorari and/or review; to the Court of Appeal, First Circuit, Nos. CA90 0904, CA90-0905, CA91 0732; Parish of Ascension, 23rd Judicial District Court, Div. “C”, No. 34,656.
Denied.
DENNIS, J., would grant the writ.
LEMMON, J., not on panel.
